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                                     14
                                   David Walcher
                                  August 26, 2022                                1

·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT

·2· · · · · · · · ·FOR THE DISTRICT OF COLORADO

·3· · · · · · · CIVIL ACTION No. 1:21-CV-3417-NYW

·4

·5· ·HOLLY KLUTH,

·6· · · · · · ·Plaintiff,

·7· ·vs.

·8· ·TONY SPURLOCK, individually and
· · ·in his official capacity as Douglas
·9· ·County Sheriff,

10· · · · · · ·Defendant.
· · ·______________________________________/
11

12· · · · · · · · ·DEPOSITION OF DAVID WALCHER

13

14

15

16· · · · DATE TAKEN:· · August 26, 2022

17· · · · TIME:· · · · · 10:04 a.m. to 6:44 p.m.
· · · · · · · · · · · · ·MOUNTAIN TIME
18

19· · · · LOCATION:· · · RATHOD MOHAMEDBAHAI, LLC
· · · · · · · · · · · · ·2701 Lawrence Street, Suite 100
20· · · · · · · · · · · ·Denver, Colorado 80205

21

22· ·Reported By:
· · ·Jessica Wharton, Reporter
23

24

25
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                                   David Walcher
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·1· · · · Q.· ·And I think before the break we discussed,

·2· ·you know, the example of an employee that commits a

·3· ·homicide.· Setting those clear examples aside, what

·4· ·makes something egregious such that, you know, you

·5· ·might take the response as outside of policy or at a

·6· ·more serious level?

·7· · · · A.· ·Well, for me, you know, I described the

·8· ·homicide arrest.· That's way over here.· But for me,

·9· ·personally, it could be disregarding, for instance, a

10· ·direct order.· It could be a pattern of disregarding

11· ·orders, or a pattern of not getting things done, a

12· ·pattern of -- pattern of behavior.· Or it's something

13· ·if maybe there are things that I could do that the

14· ·Sheriff would say, you know what, I -- I don't want

15· ·you to be my Undersheriff.· And I understand that.

16· ·Right?

17· · · · · · ·But it's all the -- I just know how I -- I

18· ·see it, but I'm looking for -- it's serious that we're

19· ·done.· Okay?· Or serious of a pattern of poor behavior

20· ·and judgment and noncompliance with -- with -- with

21· ·good judgment, and skills, and things like that.· You

22· ·want to give people the opportunity to succeed.· And

23· ·sometimes they don't succeed, and you have to take

24· ·action.

25· · · · Q.· ·Um-hum.
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·1· · · · A.· ·Absolutely not.· Necessarily, depending upon

·2· ·the reasons.· A transfer in and of itself of any

·3· ·member -- chief, captain, let's pick those.· That is

·4· ·not an indication of any captain position more

·5· ·desirable, less desirable.· A captain's a captain's a

·6· ·captain.· And even in our captain job description,

·7· ·it's one job description, and it has a few verbs --

·8· ·verbiages about -- a few lines about, if assigned to

·9· ·Highland's Ranch, if assigned to Patrol, if assigned

10· ·to Investigations, if assigned to Detentions.· So a

11· ·captain's a captain.· So it's not any sort of -- it's

12· ·no sort of negative to be transferred in and of

13· ·itself.· We have to make those moves sometimes.

14· · · · Q.· ·And they happen routinely, you said?

15· · · · A.· ·Define routinely.

16· · · · Q.· ·They happen from time to time.

17· · · · A.· ·Yes.

18· · · · Q.· ·Is there anything else that you recall about

19· ·why Ms. Kluth was transferred from Patrol to

20· ·Detentions that we haven't talked about?

21· · · · A.· ·Not at this moment.

22· · · · Q.· ·Okay.· So you -- you said Jim Jensen was

23· ·terminated?

24· · · · A.· ·Yes.

25· · · · Q.· ·Do you know why?
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                                   David Walcher
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·1· · · · · · · ·CERTIFICATE OF OATH FOR WITNESS

·2

·3

·4

·5· ·STATE OF COLORADO

·6· ·COUNTY OF DENVER

·7

·8· · · · · · ·I, Jessica Wharton, Notary Public, State of

·9· ·Colorado Certified Court Reporter, certify that David

10· ·Walcher personally appeared before me and was duly

11· ·sworn on August 26th 2022.

12

13

14· · · · · · ·SIGNED this 13th day of September 2022.

15

16

17

18

19·   ·   ·   ·   ·   ·   ·________________________________
· ·   ·   ·   ·   ·   ·   ·Jessica Wharton CER No. 20144020274
20·   ·   ·   ·   ·   ·   ·Notary Public, State of Colorado
· ·   ·   ·   ·   ·   ·   ·Commission Expires: July 08, 2026
21

22

23

24

25
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·1· · · · · · · · · ·CERTIFICATE OF REPORTER

·2

·3· ·STATE OF COLORADO

·4· ·COUNTY OF DENVER

·5

·6· · · · I, Jessica Wharton, Reporter, do hereby certify

·7· ·that I was authorized to and did electronically report

·8· ·the deposition of DAVID WALCHER; that the DAVID

·9· ·WALCHER was duly sworn on the date indicated; that the

10· ·questions and answers thereto were reduced to

11· ·typewriting under my direction; that a review of the

12· ·transcript was requested; and that the foregoing is a

13· ·true and accurate electronic recording of the

14· ·proceedings.

15· · · · I FURTHER CERTIFY that I am not a relative,

16· ·employee, or attorney, or counsel of any of the

17· ·parties, nor am I a relative or employee of any of the

18· ·parties' attorneys or counsel connected with the

19· ·action, nor am I financially interested in the action.

20· · · · DATED this 13th day of September, 2022.

21

22

23· · · · ____________________________
· · · · · Jessica Wharton, Reporter
24

25
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·1· · · · · · · ·CERTIFICATE OF TRANSCRIPTIONIST

·2

·3· · · · I, WENDY K. SAWYER, do hereby certify that I

·4· ·transcribed the electronic recording produced by

·5· ·Jessica Wharton, Reporter, of the deposition of DAVID

·6· ·WALCHER; and that the foregoing transcript is a true

·7· ·transcript of said electronic recording.

·8

·9· · · · I FURTHER CERTIFY that I am not a relative,

10· ·employee, attorney, or counsel of any of the parties,

11· ·nor am I a relative or employee of any of the parties'

12· ·attorneys or counsel connected with the action, nor am

13· ·I financially interested in the action.

14

15· · · · · · ·DATED this 13th day of September, 2022.

16

17

18

19· · · · · · ·__________________________________
· · · · · · · ·WENDY K. SAWYER, CDLT
20

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22

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